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Faith Fong




October 1, 2023


Re: Jason Fong


Your Honor,


As Jason Fong’s cousin, I have known the defendant since birth. Our families have always been close, as he is
the son of my father’s brother. I was shocked and troubled to hear of Jason’s recent case; he has always been an
upstanding person. For this reason, I am happy to write a letter of reference for him regarding this matter.
Though I understand the seriousness of this matter cannot be taken lightly, I hope the court will show some
leniency.


Jason Fong has always shown care and concern for his support system and community. He has shown great
passion for learning throughout his life, namely the study of language, culture, and religion. To his family, he is
caring and loves to share his discoveries of every day. To his friends, he remains a close and loyal commrade.
Whenever I come to his house to visit, he always welcomes me warmly, makes a cup of tea or iced water, and
makes us feel comfortable in any way he can. He also enjoys sharing what his current studies are, even
enrolling in online university courses during this time of reflection.


He is usually an upstanding member of the community, and while it is unfortunate to hear he has made some
bad decisions, I know he is willing to accept responsibility for his actions. I also believe that alongside
expressing a deep sense of remorse, he will emerge from this challenge a better person.


It is my sincere hope that the court takes this letter into consideration at the time of sentencing. I truly believe
this to be a one time offense. Despite the current case, I uphold Jason Fong to be an honorable individual, a dear
family member, and overall good human being.


Sincerely,


Faith Fong
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John Fong




October 1, 2023


Re: Jason Fong


Your Honor,


As Jason Fong’s paternal uncle, I have known the defendant since birth. My family has always been close with
our extended family. I was shocked and troubled to hear of Jason’s recent case, as he has always been an
upstanding young man. For this reason, I am happy to write a letter of reference for him regarding this matter.
Though I understand the seriousness of this matter cannot be taken lightly, I hope the court will show some
leniency.


Jason Fong has always shown incredible concern for his family, friends, and community. At family functions,
Jason Fong can be seen helping around the house, involving himself with the guests, and being an integral
presence to warmth and festivities. I observed Jason Fong offering and making Turkish coffee for guests at a
Christmas party, sharing a technique he learned from his travels. He passion for language learning and traveling
has deepened and broadened the way he connects with the world. With us, he openly shares his thoughts and
adventures. Jason Fong has been feeling very remorseful and regrets the decisions he took which led him here.
It is not a place he wants to be in forever, as his desires are to continue exploring the world. In fact, while at
home the past two years, he has been taking online college courses and expresses wishes to continue his studies
further when able.


It is my sincere hope that the court takes this letter into consideration at the time of sentencing. I believe this to
be a one time offense and given his consistently respectable character, I believe he will grow from this
experience. Despite the current case, I still believe Jason Fong to be an honorable individual, a dear family
member, and good human being.


Sincerely,




John Fong
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